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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES OF AMERICA                                                          PLAINTIFF


v.                                     NO. 4:12CR00014-001

JOHNNIE CAMPBELL                                                                  DEFENDANT




                             ORDER AMENDING JUDGMENT

       It has come to the Court’s attention that the date of imposition of judgment listed on the Judgment

and Commitment (doc #570) as to the above-named defendant should be amended to reflect April 26, 2013.

       IT IS ORDERED that the Judgment and Commitment be amended to reflect April 26, 2013 as the

date of imposition of judgment, and that all other terms and conditions of defendant’s Judgment and

Commitment shall remain unchanged and in full force and effect.

       DATED this 13th day of May 2013.



                                                                  /s/Susan Webber Wright

                                                                  United States District Judge
